IN THE UNITED STATES DISTRICT C()URT
FOR TI-}E MIDDLE DISTRICT OF TENNESSEE

 

JOHNNIE WALKER, )
)
Plaintiff, )
) DOCKET NO.:
v. ) JURY I)EMAND (12)
)
MEDIFAX-EDI, LLC dfbla ENH)EON )
BUSINESS SERVICES, LLC, )
)
Defendant. )
)
COMPLAINT

 

Comes now the Plaintifi`, Johnnie Walker, by and through his undersigned counsel, and for
his Complaint against Defendant Medifax-Edi, LLC d/b/a Emdeon Business Services, LLC, the
Plaintiff states as folloWs:

I.
PARTIES, JURISDICTION, AND VENUE

l. Plaintiff, JOhnnie Walker, (hereinafter “Plaintift”) is a resident and citizen of
Antioch, Davidson County, Tennessee.

2. Defendant, Medifax-Edi, LLC d/b/a Emdeon Business Servioes, LLC, (hereinafter
“Defendant”) is a foreign corporation authorized to be and doing business in Nashville, Davidson
County, Tennessee, and employs more than twenty employees

3. The events giving rise to this matter took place in Nashville, Davidson County,
Tennessee, at Defendant’s facility located at 3055 Lebanon Pike, Suite 1000, Nashville,
Tennessee.

4. Jurisdiction and venue in this matter are proper because the events giving rise to

Case 3:12-Cv-01334 Document 1 Filed 12/28/12 Page 1 of 5 Page|D #: 1

this matter took place in Nashville, Davidson County, Tennessee, at the Defendants’ facility.
The Plaintiff also resides in Antioch, Davidson County, Tennessee and this matter involves a
federal question under the Age Discrimination in Employment Act of 1967, as amended, 29
U.S.C. 621, et seq.

II.
FACTUAL BASES FOR SUIT

5. The Plaintiff was hired by the Defendant on or about May 16, 2011.

6. On or about luly 29, 2011, Plaintiff was placed on a performance improvement
plan and informed by the Defendant that she would be sent for additional training

7. Plaintiff was sent for additional training in August, 2011.

8. On or about Septernber 30, 2011, Plaintift` received a review where she was
cautioned about errors

9. On or about October 5, 2011, Plaintiff was cautioned that she could be terminated

10. On or about October 27, 2011, Plaintiff received another review where errors
were brought up again.

11. On or about November 3, 2011, Plaintiff was given another copy of the
performance improvement plan dated July 29, 2011 and Plaintiff Was written up.

12. On or about December 21 , 2011, Plaintiff was informed again that she could be
terminated

13. In January 2012, Plaintiff received a satisfactory performance review.

14. On or about March 20, 2012, Plaintiff was terminated for allegedly requesting a
good review from a client but this reason was pretextual

15. Plaintiff received a Right to Sue letter from the Equal Employment Opportunity

Case 3:12-cv-01334 Document 1 Filed 12/28/12 Page 2 of 5 Page|D #: 2

Commission which is attached as EXhibit A.

III.
CAUSE OF ACTION

16. Allegations 1-15 are hereby incorporated herewith The Plaintiff asserts that the
Defendant retaliated against the Plaintiff, and interfered with her rights in violation of the Age
Discrimination in Ernployment Act of 1967, as amended, 29 U.S.C. 621 , et seq, and in violation
of the Tennessee Human Rights Act pursuant to T.C.A. § 4-21-101 and 4~21-302 through T.C.A.
§ 4-21~311, and T.C.A. § 4-21-701.

17. At said dates and times as set forth herein, the Plaintiff was a fifty-seven (5 7) year
old female and the Plaintiff’ s supervisor was twenty-five (25) to thirty (3 0) years of age. The
Plaintiff’ s supervisor treated the Plaintiff differently and poorly as compared to younger `
employees The Plaintiff s supervisor also held older employees to more harsh and rigid
standards as compared to younger employees

18. The Plaintiff Was one of three (3) persons over forty years of age working at the
Defendant’s facility located on Lebanon Pike, Nashville, Tennessee who was terminated in
February and March of 2012.

19. The Plaintiff was equally qualified and capable of performing her job duties in a
satisfactory manner.

20. The Plaintiff asserts that she was treated poorly and received disparate treatment
as compared to younger employees who were similarly situated.

21. The Plaintiff asserts that the employer violated the Age Discrimination
in Employment Act, 29 U.S. C. § 621, et seq. and wrongfully discriminated against the Plaintiff

on the basis of her age, Hfty-seven (57) years old.

Case 3:12-cv-01334 Document 1 Filed 12/28/12 Page 3 of 5 Page|D #: 3

22. The Plaintiff asserts that there is a causal connection between the Defendant’s

decision to terminate her and the Plaintiff’ s age.

23. At all relevant times set forth here:

(a) The plaintiff was over forty years of age and was qualified to perform the
required job duties.

(b) The Plaintiff was improperly discharged;

(c) The Plaintiff s position was filled or replaced by a younger person;

(d) Age was the determining factor in the Defendant Employer’s decision to
discriminate against the Plaintiff and to wrongfully discharge the Plaintiff;
and

(e) The reason given by the Defendant Ernployer to terminate the Plaintiff was
a pretext and the actual reason for termination was in fact an age based
determination

24. At all relevant dates and times as forth herein, the Defendant was vicariously

liable for the actions and inappropriate conduct of the Defendant’s employees, agents and

representatives because: (a) the Defendant did not exercise reasonable care to promptly correct

and prevent the discriminating behavior; (b) the Defendant did not properly train the Plaintiff“ s

supervisors regarding the Defendant’s policies towards a workplace free of discrimination; and

(c) the Defendant did not have a viable and reasonable procedure and policy in effect to

encourage and promote employees to report age discrimination occurring within the Defendant’s

workplace; and (d) the Defendant had a duty to supervise its employees and agents.

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAYS THIS COMPLAINT

be served upon Defendant, they be compelled to Answer, and the Plaintiff be awarded all

Case 3:12-cv-01334 Document 1 Filed 12/28/12 Page 4 of 5 Page|D #: 4

including, embarrassment, humiliation, compensatory damages, back pay, front pay, attorney’s

fees, interest, punitive damages, liquidated damages, and equitable relief allowed.

Respectfully submitted,

LA oFFrCE o:/KONA D_p,§UCCARELL

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Attomeysfor the Plaintiij

   

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COST BON])

I, Donald D. Zuccarello, am surety for this cause.

   

Donald D, Zuccarello

  

Case 3:12-cv-01334 Document 1 Filed 12/28/12 Page 5 of 5 Page|D #: 5

